Civil action by plaintiff, as substituted trustee, to establish preference or priority of claim for $52,242.79 against funds in hands of liquidating agent of Central Bank and Trust Company, said amount having been deposited for a specific purpose and misused or misapplied by the bank prior to its insolvency and closing, 19 November, 1930.
From a judgment for plaintiff, the defendants appeal
Affirmed on authority of Safe Deposit Co. v. Hood, Comr., ante, 346,Flack v. Hood, Comr., ante, 337, Post No. 70 of the American Legion v.Trust Co., ante, 342, and Trust Co. v. Hood, Comr., post, 777.
Affirmed. *Page 777 